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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 :
                                          :
      PLAINTIFF,                          :
                                          :
            v.                            :                   Case No.: 1:22-cr-00210-TSC
                                          :
LETICIA VILHENA FERREIRA,                 :
                                          :
      DEFENDANT.                          :
__________________________________________:


        UNOPPOSED MOTION FOR BUREAU OF PRISON DESIGNATION TO
    FACILITY CLOSER TO DEFENDANT LETICIA VILHENA FERREIRA HOME


       Defendant Leticia Vilhena Ferreira, through counsel, respectfully moves this Court for an

order directing the Bureau of Prison to designate a facility that is closer to Ms. Ferreira’s home in

Cook County, Illinois, instead of FCI Aliceville, located Alabama. In support of this motion, the

defense states as follows:

I. BACKGROUND
       Ms. Ferreira was arrested on February 16, 2022. On June 22, 2022, Ms. Ferreira plead

guilty to one count of Parading, Demonstrating, or Picketing in a Capitol Building pursuant to

Federal Rule of Criminal Procedure 11(c)(1)(B). On October 6, 2022, Ms. Ferreira was sentenced

to, among other things, 14 days of incarceration. The Judgment requires her to self-report to the

designated Bureau of Prisons facility.

       On October 21, 2022, Ms. Ferreira received her Notice of Designation and Date to Report

to FCI Aliceville, located in Aliceville, Alabama, on December 1, 2022. That facility is 716 miles

from her home in Cook County, Illinois. Ms. Ferreira will be required to travel to a remote part
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of Alabama during the busy holiday travel season in December. Ms. Ferreira respectfully request

that this Court recommend that the BOP designate a facility that is closer to her home in Cook

County, Illinois.

       Based on undersigned counsel’s research, and communications with Probation, there are a

number of facilities in Illinois that can accommodate Ms. Ferreira for 14 days, including, but not

limited to:

       (1) RRM Chicago -- Central Territory of the Salvation Army (Chicago); or

       (2) Centerstone of Illinois, Inc.

       The undersigned counsel discussed the substance of the instant motion with the

Government. The Government does not oppose the motion.

II.    DESIGNATION OF A FACILITY NEAR COOK COUNTY, ILLINOIS

       This Court has the authority to recommend that the BOP designate a facility for Ms.

Ferreira that is near her home in Cook County, Illinois.

III.   CONCLUSION

       Ms. Ferreira is eager to serve her sentence and to put this traumatic ordeal behind her.

       She requests the Court’s assistance in serving her 14-day sentence closer to Cook County,

Illinois. Ms. Ferreira recommends the following facilities:

       (1) RRM Chicago -- Central Territory of the Salvation Army (Chicago); or

       (2) Centerstone of Illinois, Inc.




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       The instant motion is unopposed by the Government.

       Ms. Ferreira respectfully request that the instant motion be granted.




       Dated: October 27, 2022               Respectfully submitted,

                                             __ Lionel André_______
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                                    CERTIFICATE OF SERVICE

       I hereby certify that on October 27, 2022, I caused a true and correct copy of the

foregoing motion to be served via the Court’s ECF system to all counsel of record in this matter.

                                     /s/ Lionel André_____




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